               Case 4:19-cr-00633 Document 232 Filed on 08/15/22 in TXSD Page 1 of 6
                                                                                                                               United States District Court
AO 245B (Rev. 09/19)      Judgment in a Crim inal Case                                                                           Southern District of Texas
                          Sheet I
                                                                                                                                     ENTERED
                                                 UNITED STATES DISTRICT COURT                                                      August 15, 2022
                                                         SOUTHERN DISTRICT OF TEXAS                                              Nathan Ochsner, Clerk
                                                               Holding Session in Houston
          UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                     v.
                RITA KPOTIE SMITH                                               CASE NUMBER: 4:19CR00633-004
      A/KIA Rita Smith, Rita Tele Kpotie, Rita Johnson
                                                                                USM      UMBER: 01517-579

                                                                                Lance Craig Hamm
                                                                                Defendant 's Attorney
THE DEFENDANT:
~    pleaded guilty to count(s) -'-1,, _S.., o"-'n_,_M~a,,.,r-"-c!..'. h-=-3:,t.;0~2~0'-=2::::2.:. . ._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
D    pleaded nolo contendere to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     which was accepted by the court.

D    was found guilty on count(s) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
     after a plea of not guilty.
The defendant is adjudicated gui lty of these offenses:
Title & Section                Nature of Offense                                                                      Offense Ended            Count
18 U.S.C. §§ 371 and           Conspiracy to commit healthcare fraud                                                    06/30/2016              IS
1347

D See Additional Counts of Convicti on.
        The defendant is sentenced as provided in pages 2 through _§_ of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
~    Count(s) .:. :re,c:.m,._,_,a=i=ni,.,_,n~g_ _ _ _ _ _ __ _ _   are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                             Signature


                                                                             SIM LAKE
                                                                             SENIOR UNITED STATES DISTRICT JUDGE
                                                                             Name and Title of Judge



                                                                             Date
               Case 4:19-cr-00633 Document 232 Filed on 08/15/22 in TXSD Page 2 of 6
AO 245B (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet 2 - Imprisonment
                                                                                                   Judgment-Page _ _2_ _    of   6
 DEFENDANT:                RITA KPOTIE SMITH
 CASE NUMBER:              4: t 9CR00633-004

                                                             IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term
of: 60 months.
This term consists of SIXTY (60) MONTHS as to Count 1S.

□     See Additional Imprisonment Terms.

□     The court makes the following recommendations to the Bureau of Prisons:

~     The defendant is remanded to the custody of the United States Marshal.


□     The defendant shall surrender to the United States Marshal for this district:
      □   at _ _ _ _ _ __                 on _ _ _ _ _ _ _ _ _ _ _ _ __

      □   as notified by the United States Marshal.


□     The defendant shall su rrender for service of sentence at the institution designated by the Bureau of Prisons:
      □   before 2 p.m. on _ _ _ _ _ _ _ __
      □   as notified by the United States Marshal.
      □   as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 at                                                    , with a certified copy of this judgment.
      --------------

                                                                                               UN ITED STATES MARSHAL




                                                                         By
                                                                                           DEPUTY UN IT ED STATES MARSHAL
                Case 4:19-cr-00633 Document 232 Filed on 08/15/22 in TXSD Page 3 of 6
A O 2458 (Rev . 09/ 19)   Judgment in a Cr iminal Case
                          Sheet 3 - Superv ised Release
                                                                                                             Judgment -   Page      3       of        6
     DEFE DANT:              RITA KPOTIE SMITH
     CASE NUMBER:            4: 19CR00633-004

                                                          SUPERVISED RELEASE
Upon release from impri sonment, you will be on supervised re lease for a term of: =:c3.. . ,__,e'-"a"'rse..:._ __ _ _ _ _ _ _ _ _ _ _ _ __ _
This term cons ists of THREE (3) YEARS as to C ount I S .
                                                    MANDATORY CONDITIONS
I.     You must not commit another fe deral, state or local crime.
2.     You must not unl awfu ll y possess a controlled substance.
3.     You must refrain from any unl awful use of a controlled substance. You must submit to one drug test within 15 days of release from imprisonment
       and at least two period ic drug tests thereafter, as determined by the co urt.
              □    The above drug testing condition is suspended, based on the court's determinat ion that you pose a low risk of future substanc e abuse.
                   (check if applicable)
4.     f8l   You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authori zing a sentence of restitution. (check
             if applicable)
5.     f8l   You must cooperate in the collecti on of DNA as directed by the probati on officer. (check if applicable)
6.     □     You must compl y with the requirements of the Sex Offender Registrati on and Notification Act (34 U.S.C. § 20901 , et seq.) as directed by
             the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the locati on where you reside, work, are a
             student, or were convicted of a qual ifyi ng offense. (check if applicable)
7.     D     Yo u must participate in an approved program for domestic vi olence. (check if applicable)
You must comply with the standard conditi ons that have been adopted by thi s court as well as with any other conditi ons on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
f8l    See Special Conditions of Supervision.
As part of your supervised release, you must comply with the fo llowing standard conditi ons of supervision . These condi tions are imposed because they
establish the basic expectations for your behavior whil e on supervision and identi fy the minimum too ls needed by probati on officers to keep informed,
report to the court about, and bring about improvements in your conduct and co nd ition.
I.    You must report to the probation office in the federal judicial di strict where you are authorized to reside within 72 hours of your release from
      imprisonm ent, unless the probation o fficer instructs you to report to a di ffe rent pro bation offi ce or within a di ffe rent time frame.
2.    After initially reporti ng to the probation office, yo u wi ll receive instructions fro m the court or the probation officer about how and when you must
      report to the probation office r, and you must report to the pro bation office r as instructed.
3.    You must not knowi ngly leave the federal judicial di stri ct where you are authori zed to reside without first getting permissio n from the court or
      the probation officer.
4.    You must answer truthfu lly the questions asked by your probati on offi cer.
5.    You must live at a place approved by the probation offi ce r. If you plan to change where you li ve or anything about your li vin g arrangements (such
      as the people you live with), you must notify the probation offi cer at least IO days before the change. If noti fying the probation officer in advance
      is not possible due to unanti cipated circum stances, you must notify the probation officer within 72 hours of becoming aware of a change or
      expected change.
6.    You must al low the probation officer to visit yo u at any tim e at your home or elsewhere, and you must permit the probation officer to take any
      items prohibited by the conditions o f yo ur supervision that he or she observes in plai n view.
7.    You must work full time (at least 30 hours per wee k) at a lawful type of employment, unl ess the probation o ffi cer excuses you fro m doing so. If
      you do not have full-t ime employment yo u must try to find full-tim e empl oyme nt, unless the probation offi cer excuses you from doing so. If yo u
      plan to change where you work or anything about your work (such as your position or your job responsibilities), you must noti fy the probation
      officer at least IO days before the change. If notify ing the pro bation officer at least IO days in advance is not possible due to unanticipated
      circum stances, you m ust noti fy the probati on officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in crimina l activity. If you know someone has been convicted ofa
      felony, you must not knowingly communicate or interact with that person without fi rst getting the permi ssion of the probation offi cer.
9.    If you are arrested or questioned by a law enforcement officer, yo u must noti fy the probation o ffi cer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed,
      or was modified for, the specific purpose of causing bodi ly injury or death to another person such as nunchakus or lasers).
11.   You must not act or make any agreement wi th a law enforcement agency to act as a confidential hum an source or info rmant without first getting
      the permi ssion of the court.
12.   If the probation officer determines th at you pose a ri sk to another person (includi ng an organ izati on), the probat ion offi cer may require you to
      notify the person about the risk and you must comply with that instruction. The probati on offi cer may contact the person and confirm that you
      have noti fled the person about the ri sk.
13.   You must fo llow the instructions of the probatio n offi cer related to the condit ions of supervision.
14.   If restitution is ordered, the defendant must make rest itution as ordered by the Judge and in acco rdance with the applicable provisions of 18 U.S.C.
      §§ 2248, 2259, 2264, 2327, 3663A and/or 3664. The defendant must a lso pay the assessment imposed in accordance with 18 U.S.C. § 30 13.
IS.   The defendant m ust notify the U.S. Probat ion Office of any material change in the defendant ' s economi c circum stances that mi ght affect the
      defendant' s ability to pay restitution, fin es, or special assessments.
               Case 4:19-cr-00633 Document 232 Filed on 08/15/22 in TXSD Page 4 of 6
AO 24 58 (Rev . 09/19)   Judgment in a Crimin al Case
                         Sheet 3 D - Supervised Release
                                                                                      Judgment -   Page _ _4_ _   of   6
 DEFENDANT:                RITA KPOTIE SMITH
 CASE UMBER:               4: l 9CR00633-004

                                     SPECIAL CONDITIONS OF SUPERVISION
You must immediately report, continue to report, or surrend er to U.S. Immigration and Customs Enforcement and follow
all their instructions and report ing requirements until any deportation proceedings are completed. If you are ordered
deported from the United States, you must remain outs ide the United States unless legally authorized to reenter. If yo u
reenter the United States, you must report to the nearest probation office with 72 hours.
You must seek proper documentation from U.S. Immigration and Customs Enforcement authorizing you to work in the
Un ited States.
You must participate in a mental health evaluation and if recommended, participate in a mental health treatment program ,
and follow the rules and regulations of that program. The probation officer, in consultation with the treatment provider,
will supervise your participation in the program , including the provider, location, modality, duration, and intensity. You
must pay the cost, if financially able.
You must take all mental health medications that are prescribed by your treating physician. You must pay the costs of the
medication, if financially ab le.
You are prohibited from employment or acting in a fiduciary role during the term of supervision.
You are excluded from participating as a provider in Medicare, Medicaid, and all Federal health care programs.
You must provide the probation officer with access to any requested financial information and authorize the release of any
financial information. The probation office may share financial information with the United States Attorney ' s Office.
You must not incur new credit charges or open additional lines of cred it without the approval of the probation officer.
Pursuant to 18 U.S.C. § 3583(d), you shall make restitution as ordered. As part of this condition, you shall adhere to the
Schedule of Payments sheet of the judgment.
               Case 4:19-cr-00633 Document 232 Filed on 08/15/22 in TXSD Page 5 of 6
AO 2458 (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment- Page -~5_ _        of      6
  DEFE DANT:               RITA KPOTIE SMITH
 CASE NUMBER:              4: 19CR00633-004

                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedul e of payments on Sheet 6.
                  Assessment              Restitution              Fine                     AV AA Assessment'             JVT A Assessment2
TOTALS            $100                    $5,790,718 .68           $                        $                             $


□    See Additional Terms for C riminal Monetary Penalties.
D    The determination of restitution is deferred until _ _ _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will
     be entered after such determination.

~    The defendant must make restitution (inc luding community restitution) to the following payees in the amount li sted below.

     If the defendant makes a partial payment, each payee sha ll receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid .

Name of Payee                                                             Total Loss3            Restitution Ordered          Priority or Percentage
 Medicare                                                                               $               $5,790,7 18 .68

D  See Additional Restitution Payees.
TOTALS                                                                                  $               $5,790,7 18.68

D     Restitution amount ordered pursuant to plea agreement $_ _ _ _ _ __

~     T he defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 I 2(f). All of the payment options on Sheet 6 may be
      subj ect to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the abi lity to pay interest and it is ordered that:

      D     the interest requirement is waived for the D fine          D restitution.

      D     the interest requirement for the D fine         D restitution is modified as fo llows :


D     Based on the Government's moti on, the Court finds that reasonable efforts to coll ect the special assessment are not likely to be
      effective. Therefore, the assessment is hereby remitted.

      Amy, Vicky, and Andy Child Pornography Victim Assistance Act of2018, Pub. L. o. 115-299.
      Justice for Victims ofTrafficking Act of2015, Pub. L. o. 114-22.
      Findings for the total amount of losses are required under Chapters I 09A, 110, 11 0A, and 11 3A of Title 18 for offenses committed
      on or after September 13, 1994, but before April 23, 1996.
              Case 4:19-cr-00633 Document 232 Filed on 08/15/22 in TXSD Page 6 of 6
AO 245B (Rev . 09/19)     Judgment in a Criminal Case
                          Sheet 6 - Schedule of Payments
                                                                                                   Judgment - Page    6       of       6
    DEFENDA T :             RITA KPOTIE SMITH
    CASE NUMBER:            4: 19CR00633-004

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant' s abi lity to pay, payment of the total criminal monetary penalties is due as follows:
A     D     Lump sum payment of~_ _ _ _ _ _ _ due immediately, balance due
      D     not later than _ _ _ _ _ __, or
      D     in accordance with D C, D D, D E, or D F below; or
B     ~     Payment to begin immediately (may be combined with DC, D D, or ~ F below); or
C     D     Payment in equal _ _ _ _ _ _ _ _ installments o f ~ - - - - - - over a period of _ _ _ _ _ _ _ _ _ _ _~
            to commence                    after the date of thi s judgment; or
D     D     Payment in equal _ _ _ _ _ _ _ _ installments o f = - - - - - - - over a period of _ _ _ _ _ _ _ _ _ _ _~
            to commence                    after release from imprisonment to a term of supervi sion ; or
E     D     Payment during the term of supervised release will commence within _ _ _ _ _ _ _ _ after release from imprisonment.
            The court wi ll set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     ~     Special instructions regarding the payment of crim inal monetary penalties:
            Payable to:     Clerk, U.S. District Court, Attn: Finance, P.O. Box 61010, Houston, TX 77208.

                            Any unpaid balance due in payments of the greater of $25 per quarter or 50% of any wages earned while
                            imprisoned. The defendant wi ll receive credit for any payments made through the Bureau of Prisons' Inmate
                            Financial Responsibility Program. Any balance remaining after release from imprisonment shall be paid in
                            monthly installments of$200 to commence 60 days after release to a term of supervi sion.

                            The defendant's restitution obli gation shall not be affected by any payments that may be made by other
                            defendants in this case, except that no further payment shall be required after the sum of the amounts paid by
                            all defendants has fully covered all the compensable losses.

                            *In reference to the amount below, the Court-ordered restitution shall be joint and several with any co-
                            defendant who has been or will be ordered to pay restitution under this docket number.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All crim inal monetary penalties, except those payments made through the Federal Bureau of
Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previous ly made toward any criminal monetary penalties imposed.
~     Joint and Several
Case Number
Defendant and Co-Defendant ames                                                Joint and Several               Corresponding Payee,
(including defendant number)                               Total Amount            Amount                         if appropriate
*SEE ABOVE OTE
Rita Kpotie Smith 4: I 9CR00633 -004                       $5 ,790,7 18.68       $5 ,790,718 .68
Anthony Kpotie 4: I 9CR00633-003                           $1 ,255 ,079.71       $1,255 ,079.71


D     See Additional Defendants and Co-Defendants Held Joint and Several.
D     The defendant shall pay the cost of prosecution.
D     The defendant shall pay the fo llowing court cost(s):


D     The defendant shall forfeit the defendant' s interest in the following property to the United States:


Payments shall be applied in the fo ll owing order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal, (6) fine interest, (7) community restitution , (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
